               Case 1:24-bk-10646-MB                   Doc 1 Filed 04/22/24 Entered 04/22/24 10:57:52                                    Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)                                                     Chapter      11
                                                                                                                         Check if this an
                                                                                                                            amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Synapse Financial Technologies, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                   Mailing address, if different from principal place of
                                                                                                business

                                  21255 Burbank Boulevard,
                                  Suite 120
                                  Woodland Hills, CA 91367
                                  Number, Street, City, State & ZIP Code                        P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                   Location of principal assets, if different from principal
                                  County                                                        place of business

                                                                                                Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://synapsefi.com


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                            page 1
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Debtor    Synapse Financial Technologies, Inc.                                                         Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                        Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                        Railroad (as defined in 11 U.S.C. § 101(44))
                                        Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                        Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                        Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                        None of the above
                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
     A debtor who is a “small           Chapter 9
     business debtor” must check        Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12
9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor    Synapse Financial Technologies, Inc.                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                No
    pending or being filed by a
    business partner or an                  Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor                                                                   Relationship
                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                             Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or              No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal           Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                   It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                   It needs to be physically secured or protected from the weather.
                                                   It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                   Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                   No
                                                   Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                                Funds will be available for distribution to unsecured creditors.
                                                After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                 1-49                                           1,000-5,000                               25,001-50,000
    creditors
                                        50-99                                          5001-10,000                               50,001-100,000
                                        100-199                                        10,001-25,000                             More than100,000
                                        200-999

15. Estimated Assets                    $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                        $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                        $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                        $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities               $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion

Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Synapse Financial Technologies, Inc.                                        Case number (if known)
         Name

                             $50,001 - $100,000                       $10,000,001 - $50 million              $1,000,000,001 - $10 billion
                             $100,001 - $500,000                      $50,000,001 - $100 million             $10,000,000,001 - $50 billion
                             $500,001 - $1 million                    $100,000,001 - $500 million            More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Synapse Financial Technologies, Inc.                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      April 22, 2024
                                                  MM / DD / YYYY


                             X                                                                            Sankaet Pathak
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X                                                                             Date April 22, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ron Bender 143364
                                 Printed name

                                 Levene, Neale, Bender, Yoo & Golubchik L.L.P
                                 Firm name

                                 2818 La Cienega Avenue
                                 Los Angeles, CA 90034
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (310) 229-1234                Email address      rb@lnbyg.com

                                 143364 CA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Synapse Financial Technologies, Inc.

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 22, 2024                  X
                                                             Signature of individual signing on behalf of debtor

                                                             Sankaet Pathak
                                                             Printed name

                                                             Chief Executive Officer
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Synapse Financial Technologies, Inc.
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                             Check if this is an
                                                CALIFORNIA - SAN FERNANDO
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Kroll Associates, Inc Benjamin Au                                                                                                                             $473,662.28
 600 3rd Ave Fl 4
 New York, NY 10016 ben.au@orrick.com
                       (212) 593-1000
 Thomson Reuters                                                               Disputed                                                                        $290,822.50
 PO Box 6292 - West
 Payment Center
 Carol Stream, IL
 60197-6292
 Lineage Bank                                                                  Disputed                                                                        $276,812.26
 3359 Aspen Grove
 Drive Suite 150
 Franklin, TN 37067
 Amazon Web                                                                                                                                                    $261,509.36
 Services, Inc.        aws-receivables-su
 PO Box 84023          pport@email.amaz
 Seattle, WA           on.com
 98124-8423
 Jones Day                                                                                                                                                     $229,275.00
 555 California Street
 26th Floor            (415) 875-5889
 San Francisco, CA
 94104-1500
 Trulioo Information                                                                                                                                           $225,754.20
 Services, Inc
 400-114 East 4th St
 Vancouver, CA
 94104
 MasterCard                                                                    Disputed                                                                        $210,900.83
 International
 2200 Mastercard
 Boulevard
 O' Fallon, MO
 63368-7263




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Synapse Financial Technologies, Inc.                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Goodwin Procter           Shinette Parin                                                                                                                      $199,835.10
 LLP
 Three Embarcadero         sparin@goodwinla
 Center                    w.com
 San Francisco, CA         (415) 733-6000
 94111
 Lowenstein Sandler                                                                                                                                            $166,921.12
 LLP
 One Lowenstein
 Drive
 Roseland, NJ 07068
 First Horizon Bank                                                                                                                                            $157,427.48
 4385 Poplar Avenue        acummings@firsth
 ATTN: Proctor Ford        orizon.com
 Memphis, TN 38117         (901) 681-2398
 Bergeson LLP                                                                                                                                                  $141,917.07
 111 Market Street,
 Suite 600
 San Jose, CA 95113
 Sloanne &                                                                                                                                                     $131,250.00
 Company, LLC              accountsreceivable
 285 Fulton Street         @sloanepr.com
 69th Floor
 New York, NY 10007
 Newfront Insurance,       John Rodriguez                                                                                                                      $125,112.12
 Inc
 55 2nd Street, 18th       john.rodriguez@ne
 Floor                     wfrontinsurance.co
 San Francisco, CA         m
 94105                     (323) 360-1748
 Linkedin                                                                      Disputed                                                                        $115,045.82
 Corporation               ar-receipts@linkedi
 62228 Collections         n.com
 Center Drive              (866) 498-7020
 Chicago, IL
 60693-0622
 Fiserv, Inc                                                                                                                                                   $102,000.00
 Po Box 208457             ceinvoiceinquiry@f
 Dallas, TX                iserv.com
 75320-8457                (470) 701-7191
 Performiline, Inc                                                             Disputed                                                                          $99,900.00
 58 South Street 2nd       ar@performline.co
 Floor                     m
 Morristown, NJ            (314) 754-0999
 07960
 Digital 365 Main,                                                                                                                                               $67,892.75
 LLC
 365 Main Street
 Suite 1500
 San Francisco, CA
 94105



Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Synapse Financial Technologies, Inc.                                                      Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 TabaPay, Inc                                                                                                                                                    $67,500.02
 605 Ellis Street 110
 Mountain View, CA
 94043
 FlemingMartin, LLC                                                                                                                                              $66,333.00
 822 Hartz Way Suite
 215
 Danville, CA 94526
 Yotta Technologies Adam Moelis                                                                                                                                  $65,172.33
 Inc
 33 Irving Pl         adam@withyotta.c
 New York, NY 10003 om
                      (844) 945-3449




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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Attorney or Party Name, Address, Telephone & FAX Nos.,                           FOR COURT USE ONLY
State Bar No. & Email Address
Ron Bender 143364
2818 La Cienega Avenue
Los Angeles, CA 90034
(310) 229-1234 Fax: (310) 229-1244
California State Bar Number: 143364 CA
rb@lnbyg.com




 Debtor(s) appearing without an attorney
 Attorney for Debtor

                                            UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO

In re:
                                                                                 CASE NO.:
            Synapse Financial Technologies, Inc.
                                                                                 CHAPTER: 11




                                                                                                     VERIFICATION OF MASTER
                                                                                                    MAILING LIST OF CREDITORS

                                                                                                                   [LBR 1007-1(a)]

                                                              Debtor(s).

Pursuant to LBR 1007-1(a), the Debtor, or the Debtor's attorney if applicable, certifies under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of 16 sheet(s) is complete, correct, and
consistent with the Debtor's schedules and I/we assume all responsibility for errors and omissions.

Date: April 22, 2024
                                                                                         Signature of Debtor 1

Date:
                                                                                         Signature of Debtor 2 (joint debtor) ) (if applicable)

Date: April 22, 2024
                                                                                         Signature of Attorney for Debtor (if applicable)




                  This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.
December 2015                                                                                      F 1007-1.MAILING.LIST.VERIFICATION
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                       Synapse Financial Technologies, Inc.
                       21255 Burbank Boulevard,
                       Suite 120
                       Woodland Hills, CA 91367


                       Ron Bender
                       Levene, Neale, Bender, Yoo & Golubchik L.L.P
                       2818 La Cienega Avenue
                       Los Angeles, CA 90034


                       U.S. Trustee San Fernando        Valley
                       915 Wilshire Blvd.
                       Suite 1850
                       Los Angeles, CA 90017


                       Amazon Web Services, Inc.
                       PO Box 84023
                       Seattle, WA 98124-8423


                       Aprio, LLP
                       201 North Civic Drive, Suite 220
                       Walnut Creek, CA 94596


                       Arktouros PLLC
                       1717 N Street Northwest, Suite 1
                       Washington DC, DC 20036


                       Arroweye Solutions Inc.
                       2470 Paseo Verde Parkway Suite 135,
                       Henderson, NV 89074


                       Ask Benjamin, Inc
                       2055 Market Street
                       San Francisco, CA 94114
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                   ATM National, LLC
                   PO Box 4346, Dept 364
                   Houston, TX 77210-4346


                   Atmos Financial, Inc
                   2222 Harold Way, Suite CW509
                   Berkeley, CA 94704


                   BairdHolm, LLP
                   1700 Farnam St, Ste 1500
                   Omaha, NE 68102


                   Ballard Spahr, LLP
                   1909 K Street, Nw 12Th Floor
                   Washington, DC, DC 20006


                   BDO USA, LLP
                   PO Box 677973
                   Dallas, TX 75267


                   Bergeson LLP
                   111 Market Street, Suite 600
                   San Jose, CA 95113


                   Brightside Benefit, Inc
                   55 N Arizona Pl, Ste 200
                   Chandler, AZ 85225


                   Business Wire, Inc
                   101 California Street 20th Floor
                   San Francisco, CA 94111
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                   Cactil LLC
                   1441 Broadway 3rd floor
                   New York, NY 10018


                   Cadre Cash, LLC
                   295 Lafayette Street, Suite 500
                   New York, NY 10012


                   Capital J Inc
                   1390 Market Street, Suite 200
                   San Francisco, CA 94102


                   ChangeEd, Inc
                   222 W. Merchandise Mart Plaza
                   Suite 1212
                   Chicago, IL 60654


                   Checkr, Inc
                   One Montgomery St Suite 2000
                   San Francisco, CA 94104


                   Cobalt Labs, Inc
                   575 Market St. Fl 4
                   San Francisco, CA 94105


                   Datadog, Inc.
                   620 8th Avenue Floor 45
                   New York, NY 10018-1741


                   Datasite, LLC
                   733 S. Marquette Ave, Suite 600
                   Minneapolis, MN 55402
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                   Degree, Inc
                   PO Box 207585
                   Dallas, TX 75320-7585


                   Dexy Co
                   1500 Bay Rd, 920
                   Miami Beach, FL 33139


                   Digital 365 Main, LLC
                   365 Main Street Suite 1500
                   San Francisco, CA 94105


                   DoiT International USA, Inc
                   5201 Great America Pkwy, Suite 320
                   Santa Clara, CA 95054


                   Ekata, Inc.
                   1301 5th Ave Suite 1600
                   Seattle, WA 98101


                   Elevated Principles, Inc
                   2021 Filmore St, 85
                   San Francisco, CA 94115


                   Evolve Bank & Trust
                   Attn: David M. Poitras, Esq.
                   21650 Oxnard Street, Suite 500
                   Woodland Hills, CA 91367


                   Evolve Bank & Trust
                   6000 Poplar Avenue, Suite 300
                   Memphis, TN 38119
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                   Financial Technology Association         FTA
                   PO Box 223302
                   Chantilly, VA 20153


                   Finnt, Inc
                   333 S. E. 2nd Avenue, Suite 200
                   Miami, FL 33131


                   Fintech Meetup,LLC
                   605 3rd Avenue
                   New York, NY 10158


                   First Horizon Bank
                   4385 Poplar Avenue
                   ATTN: Proctor Ford
                   Memphis, TN 38117


                   Fiserv, Inc
                   Po Box 208457
                   Dallas, TX 75320-8457


                   FlemingMartin, LLC
                   822 Hartz Way Suite 215
                   Danville, CA 94526


                   Flourish Savings, Inc
                   2261 Market Street, 4466
                   San Francisco, CA 94114


                   Fraudguard.io
                   12116 Everglades Kite Road
                   Brooksville, FL 34614
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                   Frazier & Deeter, LLC
                   222 2nd Avenue S Suite 1840
                   Nashville, TN 37201-2308


                   Fund That Flip, Inc
                   10 E 23rd Street, 5 floor
                   New York, NY 10010


                   Gattaca Horizons, LLC
                   5903 Ashby Manor Place
                   Alexandria, VA 22310


                   Glance Capital, Inc
                   651 North Broad Street
                   Middletown, DE 19709


                   Goodwin Procter LLP
                   Three Embarcadero Center
                   San Francisco, CA 94111


                   Gravy Technologies, Inc.
                   119 S Main Street
                   St. Charles, MO 00063-3301


                   GravyStack, Inc.
                   1 N. 1st Street, 790
                   Phoenix, AZ 85004


                   Hanson Bridgett LLP
                   425 Market Street, 26th Floor
                   San Francisco, CA 94105
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                   Hatfield, Inc.
                   1112 Bryant Street
                   San Francisco, CA 94103


                   Hixson Nagatani LLP
                   2021 The Alameda, Ste 240
                   San Jose, CA 95126


                   Hyve, Inc
                   86 Camp Hill Road
                   Pomona, NY 10970


                   Idemia America Corp.
                   4250 Pleasant Valley Road
                   Chantilly, VA 20151


                   IDT Payment Services, Inc.
                   520 Broad Street
                   Newark, NJ 07102


                   Illinois Secretary of State
                   115 S. LaSalle St., Ste. 300
                   Chicago, IL 60603


                   Intuit, Inc
                   650 California St, 7th Floor
                   San Francisco, CA 94108


                   Jones Day
                   555 California Street 26th Floor
                   San Francisco, CA 94104-1500
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                   Klutch Technologies Inc.
                   3515 Mount Diablo Blvd
                   Lafayette, CA 94549


                   Knab, Inc
                   432 Fremont Ave
                   Pacifica, CA 94044


                   Kroll Associates, Inc
                   600 3rd Ave Fl 4
                   New York, NY 10016


                   Landa Holdings, Inc
                   One Penn Plaza, suite 5307
                   New York, NY 10119


                   Latitud, Inc
                   4588 Bennett Valley Road
                   Santa Rosa, CA 95404


                   Lineage Bank
                   3359 Aspen Grove Drive Suite 150
                   Franklin, TN 37067


                   Linkedin Corporation
                   62228 Collections Center Drive
                   Chicago, IL 60693-0622


                   Littler Mendelson, PC
                   P.O. Box 207137
                   Dallas, TX 75320-7137
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                   Lob.com, Inc.
                   2261 Market Street STE 5668
                   San Francisco, CA 94114


                   London & Stout P.C.
                   1999 Harrison Street Ste 2010
                   Oakland, CA 94612


                   Lowenstein Sandler LLP
                   One Lowenstein Drive
                   Roseland, NJ 07068


                   Machnet Technologies, Inc
                   317-642 Rue De Courcelle
                   Montreal, Quebec, Canada H4C 3C5


                   MasterCard International
                   2200 Mastercard Boulevard
                   O' Fallon, MO 63368-7263


                   Masterworks Administrative Services, LLC
                   225 Liberty St, 29th floor
                   New York, NY 10281


                   McBurberod Financial Inc
                   650 California St, 7th Floor
                   San Francisco, CA 94108


                   Mercury Technologies, Inc.
                   660 Mission Street, 4th Floor
                   San Francisco, CA 94105
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                   MicroVenture Marketplaces, Inc
                   11601 Alterra parkway, suite 100
                   Austin, TX 78758


                   Mila Popov aka Mila Alemasov,
                   Ttee Mila Aleamasov Revocable Trust
                   Law Offices of Svetlana Rishini
                   P.O. Box 2114
                   Alameda, CA 94501


                   Momento Technologies, Inc
                   401 Park Ave South, 9th floor
                   New York, NY 10016


                   Nasim Shushtari
                   Kesluk, Silverstein, Jacob & Morrison, P
                   9255 Sunset Blvd, Suite 411
                   Los Angeles, CA 90069


                   Navan, Inc
                   3045 Park Blvd
                   Palo Alto, CA 94306


                   Newfront Insurance, Inc
                   55 2nd Street, 18th Floor
                   San Francisco, CA 94105


                   Next Financial Inc
                   221 1ST Ave W
                   Seattle, WA 98119


                   Nomad Fintech, Inc. Nomad Tecnologia e P
                   873 El Camino Real
                   Menlo Park, CA 94025
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                   OneBlinc,LLC
                   225 E Dania Beach Blvd
                   Dania Beach, FL 33004


                   Papaya Global, Inc.
                   1460 Broadway
                   New York, NY 10036


                   Paredes Strategies LLC
                   9 Shorelands Court
                   Greenwich, CT 06870


                   Passfolio Financial, LLC
                   1390 Market St, Suite 200
                   San Francisco, CA 94102


                   Performiline, Inc
                   58 South Street 2nd Floor
                   Morristown, NJ 07960


                   PitchBook Data, Inc.
                   901 Fifth Avenue, Suite 1200
                   Seattle, WA 98164


                   Pretax Hero, Inc
                   159 Court St #2
                   New York, NY 11201


                   PRGB, Inc.
                   256 W Data Drive
                   Draper, UT 84020
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                   Profit Financial, Inc.
                   43 W 23rd Street, 6th Floor,
                   New York, NY 10010


                   PROG Services, Inc.
                   256 W Data Drive
                   Draper, UT 84020


                   Rego Payment Architectures, Inc
                   325 Sentry Parkway, suite 200
                   Blue Bell, PA 19422


                   Rocketlane Corp
                   3524 Silverside Road Suite 35B
                   Wilmington, DE 19810


                   Roost Enterprises, Inc
                   629 N High Street, 6th floor
                   Columbus, OH 43215


                   Routefusion Inc.
                   1305 East 6th Street Unit 10
                   Austin, TX 78702


                   Salesforce, Inc.
                   415 Mission Street 3rd Floor,
                   San Francisco, CA 94105


                   Schulte Roth + Zabel LLP
                   919 Third Avenue
                   New York, NY 10022
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                   Secure Talent, Inc
                   Secure Talent, Inc. PO BOX 512220
                   Los Angeles, CA 90051-0220


                   Seed Financial, Inc
                   650 California St, 7th Floor
                   San Francisco, CA 94108


                   Sentant Network, LLC
                   535 Mission St 14th floor
                   San Francisco, CA 94105


                   Silcon Valley Bank, a division of
                   First-Citizens Bank & Trust Company
                   1437 7th Street, Suite 300
                   Santa Monica, CA 90401


                   Silt Inc
                   404 Bryant Street
                   San Francisco, CA 94107


                   Sloanne & Company, LLC
                   285 Fulton Street 69th Floor
                   New York, NY 10007


                   Spectrum Marketing Solutions, LLP
                   4470 W Sunset Blvd 90864
                   Los Angeles, CA 90027


                   Split Software, Inc
                   2317 Broadway Street 3rd Floor
                   Redwood City, CA 94063
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                   SportsPay Partners, LLC
                   177 E Colorado Blvd, Ste 200
                   Pasadena, CA 91105


                   SRGR Law Offices
                   A3 Fl 3, Noida
                   Uttar Pradesh, India 00020-1301


                   Sunny Day Fund Solutions, Inc
                   6003 Madison Overlook Ct.
                   Falls Church, VA 22041


                   TabaPay, Inc
                   605 Ellis Street 110
                   Mountain View, CA 94043


                   TClub, Inc
                   2261 Market Street, 4688
                   San Francisco, CA 94114


                   This Is Alice Inc.
                   1040 Noel Dr
                   Menlo Park, CA 94025


                   Thomson Reuters
                   PO Box 6292 - West Payment Center
                   Carol Stream, IL 60197-6292


                   Triple 2 Inc.
                   5501 China Point
                   Long Beach, CA 90803
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                   TriplePoint Capital LLC
                   2755 Sand Hill Rd.
                   Suite 150
                   Menlo Park, CA 94025


                   Trulioo Information Services, Inc
                   400-114 East 4th St
                   Vancouver, CA 94104


                   Turing Enterprises Inc.
                   P.O. Box 735665
                   Chicago, IL, IL 60673-5665


                   Under Technologies, Inc
                   Keker, Van Nest & Peters LLP 633 Battery
                   633 Battery Street
                   San Francisco, CA 94111


                   Under Technologies, Inc
                   446 W 14th Street, 2nd floor
                   New York, NY 10014


                   Unest Holdings, Inc
                   5161 Lankershim Blvd, 250
                   North Holywood, CA 91601


                   Unit21, Inc
                   49 Geary Street Suite 200
                   San Francisco, CA 94108


                   Venminder, Inc
                   400 Ring Rd, Ste 131
                   Elizabethtown, KY 42701
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                   Visage Enterprise, Inc
                   1601 Elm
                   Dallas, TX 75201


                   William Blair & Company, L.L.C.
                   150 North Riverside Plaza
                   Chicago, IL 60606


                   WireBee Inc
                   8700 Sanctuary Drive
                   Mentor, OH 44060


                   WorkRamp, Inc.
                   440 N Barranca Ave 3840
                   Covina, CA 91723-1722


                   YieldStreet Inc.
                   300 Park Avenue, 15th Floor,
                   New York, NY 10022


                   Yodlee, Inc
                   621 Hillsborough Street, 10th Floor
                   Raleigh, NC 27603


                   Yotta Technologies Inc
                   33 Irving Pl
                   New York, NY 10003
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                  ACTION BY UNANIMOUS WRITTEN CONSENT
                        OF THE BOARD OF DIRECTORS
                                   OF
                   SYNAPSE FINANCIAL TECHNOLOGIES, INC.

            The undersigned, constituting all of the members of the Board of Directors
     (the “Board”) of Synapse Financial Technologies, Inc., a Delaware corporation (the
     “Company”), pursuant to Section 141(f) of the Delaware General Corporation Law
     (“DGCL”) and the Bylaws of the Company, hereby adopt the following resolutions
     by unanimous written consent, effective as of the latest date set forth on the
     signature page hereto:

              RESOLVED that it is advisable and in the best interests of the Corporation
     to file a voluntary bankruptcy petition under chapter 11 of 11 U.S.C. §§ 101-1532
     (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Central
     District of California, San Fernando Valley Division (the “Bankruptcy Court”);

            RESOLVED FURTHER, that Sakaet Pathak (the “Responsible Party”)
     and anyone designated by the Responsible Party, is hereby authorized to execute
     and cause to be filed a chapter 11 bankruptcy petition (and all related documents
     and papers) under the Bankruptcy Code to enable the Corporation to commence a
     chapter 11 bankruptcy case under the Bankruptcy Code (the “Bankruptcy Case”);

            RESOLVED FURTHER that the Responsible Party shall serve as the
     designated officer of the Company during its chapter 11 bankruptcy case;

              RESOLVED FURTHER, that the Responsible Party is hereby authorized,
     in the name of the Corporation, to employ the law firm of Levene, Neale, Bender,
     Yoo & Golubchik L.L.P. as bankruptcy counsel to the Corporation for purposes of
     filing the Chapter 11 bankruptcy petition and representing the Corporation in the
     Bankruptcy Case;

              RESOLVED FURTHER, that the Responsible Party is hereby authorized
     to employ, in the name of the Corporation, any other professionals to represent or
     assist the Corporation in connection with the Bankruptcy Case that the Responsible
     Party deems to be in the best interests of the Corporation;

             RESOLVED FURTHER, that the Responsible Party is hereby authorized
     on behalf of and in the name of the Corporation to execute and file and to cause
     counsel to the Corporation to prepare with the assistance of the Corporation as
     appropriate all petitions, schedules, lists and other papers, documents and pleadings
     and to take any and all action which the Responsible Party deems necessary and
     proper in connection with the Bankruptcy Case; and

             RESOLVED FURTHER, that the authority granted to the Responsible
     Party pursuant to the foregoing resolutions to cause the Corporation to take further
     actions in connection with the Bankruptcy Case shall include, but not be limited to,




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     seeking Bankruptcy Court approval for the Corporation to use cash collateral and
     executing any agreements related to any of the foregoing; compensating
     employees; entering into or continuing with agreements; terminating, altering or
     amending agreements; collecting accounts receivable; negotiating with creditors,
     lenders, vendors, suppliers and others; assuming, assigning, or rejecting executory
     contracts and unexpired leases; renegotiating the terms of executory contracts and
     unexpired leases; signing new or amended contracts and leases; commencing,
     defending and settling litigation involving the Corporation; marketing the
     Corporation’s assets for sale and consummating the sale of all or substantially all
     of the Corporation’s assets for the most money possible; and formulating, filing and
     seeking to confirm a plan of reorganization to maximize the recovery for creditors
     and other interest holders.

             RESOLVED FURTHER, that the omission from these resolutions of any
     agreement, document or other instrument contemplated by any of the transactions
     described in the foregoing resolutions or of any action to be taken in accordance
     with any requirement of any of the agreements, documents or instruments described
     in the foregoing resolutions shall in no manner derogate from the authority of the
     Responsible Party to take all actions necessary, desirable, advisable or appropriate
     to consummate, effectuate, carry out or further the transactions contemplated by,
     and the intent and purposes of, the foregoing resolutions; and

             RESOLVED FURTHER, that all acts and things heretofore done and all
     actions taken by the Responsible Party on behalf of the Corporation in connection
     with the transactions contemplated by the foregoing resolutions are adopted and
     approved as acts by and on behalf of the Corporation.


       04 / 11 / 2024
DATE: _______________                             ______________________________
                                                  SANKAET PATHAK

      04 / 10 / 2024
DATE: _______________                             ______________________________
                                                  DOUG MARCHANT
       04 / 11 / 2024
DATE: _______________                             ______________________________
                                                  HILLARY QUIRK




                                                            Doc ID: 620bf460acd0de53c877c760ca38aca485d3c719
